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 4

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 6   OFFICE OF COUNTY COUNSEL
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10

11
     Attorneys for Defendant COUNTY OF RIVERSIDE
12

13
                              UNITED STATES DISTRICT COURT
14
                             CENTRAL DISTRICT OF CALIFORNIA
15
     QUINTON GRAY, et al., on behalf of         )   CASE NO. EDCV13-0444 VAP (OP)
16   themselves and all others similarly        )
     situated,                                  )   CLASS ACTION
17                                              )
          Plaintiffs,                           )   JOINT STATUS REPORT RE
18                                              )   ONGOING DISCUSSIONS BETWEEN
     v.                                         )   COUNSEL
19                                              )
     COUNTY OF RIVERSIDE,                       )
20   Defendant.                                 )   JUDGE: Hon. Virginia Phillips
                                                )   DATE: TBD
21                                              )   TIME: TBD
                                                )   COURTROOM: 8A
22                                              )   LOCATION: 350 W. First Street, Los
                                                )   Angeles, CA 90012
23                                              )
24
     TO THE HONORABLE COURT:
25

26          Counsel for PLAINTIFFS, QUINTON GRAY, et al., on behalf of themselves and all
27   others similarly situated, and counsel for DEFENDANT, COUNTY OF RIVERSIDE
28
                                                 1
                    JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
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 1
     hereby offer the following further Joint Status Report concerning ongoing discussions

 2   between counsel:
 3
           1.      As the Court is aware, on April 6, 2020, Plaintiff Quinton Gray (“Plaintiff”)
 4

 5   filed a document captioned “Emergency Motion to Enforce Consent Decree.” (“Motion,”

 6   Dkt. 177). Defendant County of Riverside (“Defendant”) opposed the Motion on April 10,
 7
     2020 (“Opp.,” Dkt. 183).
 8
 9         2.      Following the April 13, 2020 hearing on this matter, the Parties engaged in a

10   telephonic mediation before Judge Ramirez on April 17, 2020.
11
           3.      Throughout the mediation, Defendant provided information which satisfied a
12

13   significant number of the issues posed by Plaintiffs. Additional information was provided

14   via email to counsel for Plaintiffs, including:
15
                a. A written plan detailing the steps that Behavioral Health has taken and will take
16

17                 to provide stimulation for inmates, both those in quarantine/isolation and those
18                 not. This document was provided to counsel for Plaintiffs on Tuesday, April
19
                   21, 2020, with revised versions incorporating suggestions by Plaintiffs and the
20

21                 mental health expert provided on April 30 and May 4, 2020;
22              b. Further details concerning the inmate population, including identification by
23
                   Correctional Health Services of the number of those inmates who may be at a
24

25                 higher risk of severe illness from COVID-19 due to factors such as age and
26                 underlying health condition. This document was provided to counsel for
27

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                                                 2
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 1
                   Plaintiffs on Wednesday, April 22, 2020, with additional information provided

 2                 subsequently in response to Plaintiffs’ requests;
 3
                c. A written plan detailing the Sheriff’s Department’s efforts and commitments to
 4

 5                 combat the spread of COVID-19 in the jails, including changes in housing,

 6                 sanitation practices, and personal hygiene. This document was provided to
 7
                   counsel for Plaintiffs on Tuesday, April 21, 2020.
 8
 9         4.      Pursuant to an agreement between the Parties, Defendant has provided, and will

10   continue to provide for the length of time that the State of Emergency declared by Governor
11
     Newsom on March 4, 2020 exists in California, the following information to counsel for
12

13   Plaintiffs every Monday, Wednesday, and Friday:

14              a. the number of COVID-19 tests performed on the incarcerated population;
15
                b. the number of confirmed cases among people living in the jails (including
16

17                 names, booking numbers, and locations) and the number of confirmed cases
18                 among jail staff to the extent that information is known and available;
19
                c. the number of people living in the jails who are on quarantine or medical
20

21                 isolation and their location;
22              d. the number of people living in the jails who have been sent to the hospital with
23
                   COVID-19 complications; and
24

25              e. the number of deaths among people living in the jails, and among staff to the
26                 extent that information is known and available.
27

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                                                 3
                    JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
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 1
            5.       All such information referenced in Paragraph 4 above has been and will

 2   continue to be provided to Plaintiffs’ counsel pursuant to the Stipulated Protective Order in
 3
     this matter, signed by the Court on October 21, 2013 (Docket No. 19).
 4

 5          6.       On April 29, 2020, Plaintiffs provided a response to the documents produced

 6   to date and on May 1, 2020, the Parties conducted a telephonic discussion. Resolution was
 7
     reached on nearly all outstanding issues.        The Parties have scheduled a follow-up
 8
 9   conversation, to be held on May 8, 2020, in order to discuss the level of COVID-19 testing

10   of those in custody and any additional remaining issues. The parties also agreed on a process
11
     for Plaintiffs to monitor Defendant’s implementation of the Plan, including weekly written
12

13   exchanges as well as telephone calls between Plaintiffs’ counsel and Plaintiff class members

14   in the jails.
15
            7.       Defendant is also in the process of compiling and providing to Plaintiffs’
16

17   counsel a complete written plan for care of those in custody, inclusive of all information and
18   documentation previously provided to counsel and/or the Court appointed experts
19
     (hereinafter the “Plan”), as modified through negotiation between the Parties. The Plan will
20

21   be provided to both counsel for Plaintiffs and the Court appointed experts no later than May
22   13, 2020.
23
            8.       Communication between the Parties is ongoing and it is anticipated that
24

25   agreement will be reached on all outstanding issues. If necessary, however, counsel agree
26   to return to Judge Ramirez on an expedited basis for further mediation assistance.
27

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                     JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
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 1
           9.     A further status report will be filed with the Court by May 15, 2020 to update

 2   the Court on the discussion occurring on May 8, 2020 and the status of Defendant’s Plan.
 3

 4
                                                       /s/ Sara Norman
 5   Dated: May 6, 2020                          By:
                                                       SARA NORMAN
 6                                                     THE PRISON LAW OFFICE
                                                       Attorneys for Plaintiffs,
 7                                                     QUINTON GRAY et al.
 8
 9                                                     /s/ Art Cunningham
     Dated: May 6, 2020                          By:
10                                                     ARTHUR K. CUNNINGHAM
                                                       LEWIS BRISBOIS BISGAARD & SMITH LLP
11                                                     Attorneys for Defendant,
                                                       COUNTY OF RIVERSIDE
12

13

14         Pursuant to Local Rule 5-4.3.4(a)(2)(i), I, ARTHUR K. CUNNINGHAM, attest that
15   all signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
16   content and have authorized the filing.
17                                               /s/ Art Cunningham
18

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                  JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
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                                      PROOF OF SERVICE
 1
                 United States District Court Case No. 5:13-cv-00444-VAP-OP
 2
           I, the undersigned, say that I am a citizen of the United States and am employed in
 3   the county of Riverside, over the age of 18 years and not a party to the within action or
     proceeding; that my business address is: 3960 Orange Street, Suite 500, Riverside, CA
 4   92501-3611.
 5         On     May 8, 2020    , a true and correct copy of the foregoing document entitled:
 6   JOINT STATUS REPORT RE MEDIATION EFFORTS AND ONGOING
     DISCUSSIONS BETWEEN COUNSEL
 7
     was served on all parties pursuant to FRCivP 5(b) as follows:
 8
 9                                            Arthur Kenneth Cunningham
       Donald Specter
       Prison Law Office                      Lewis Brisbois Bisgaard and Smith LLP
10     1917 Fifth Street                      Tri-City Corp Center
       Berkeley, CA 94710                     650 East Hospitality Lane Suite 600
11     510-280-2621
       Fax: 510-280-2704                      San Bernardino, CA 92408-3508
12     Email: dspecter@prisonlaw.com          909-387-1130
13                                            Fax: 909-387-1138
                                              Email: akcatty@lbbslaw.com
14
       Sara Linda Norman                      Christopher D Lockwood
15     Prison Law Office
       1917 Fifth Street                      Arias and Lockwood
16     Berkeley, CA 94710                     1881 South Business Center Drive Suite 9A
       510-280-2621                           San Bernardino, CA 92408
17     Fax: 510-280-2704
       Email: snorman@prisonlaw.com           909-890-0125 Fax: 909-890-0185
18                                            Email:
19                                            christopher.Lockwood@ariaslockwood.com
       Shawn Everett Hanson                   Stephanie Joy M Tanada
20     Akin Gump Strauss Hauer and Feld
            LLP                               Lewis Brisbois Bisgaard and Smith LLP
21     580 California Street 15th Floor       Tri-City Corp Center
       San Francisco, CA 94104-1036           650 Hospitality Lane Suite 600
22     415-765-9500
       Fax: 415-765-9501                      San Bernardino, CA 92408-3508
23     Email: shanson@akingump.com            909-387-1130 Fax: 909-387-1138
                                              Email: tanada@lbbslaw.com
24     Danielle C Ginty
       Akin Gump Strauss Hauer & Feld
25          LLP
       580 California Street Suite 1500
26     San Francisco, CA 94104
       415-765-9500
27     Fax: 415-765-9501
       Email: dginty@akingump.com
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                                               6
                  JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
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 1         TO BE SERVED BY THE COURT VIA THE NOTICE OF ELECTRONIC FILING
           (NEF).      Pursuant to L.R. 5-3.2.3, the foregoing document will be served by the
 2         court via NEF and hyperlink to the document. I checked the CM/ECF docket for this
           case or adversary proceeding and determined that the following persons are on the
 3         Electronic Mail Notice List to receive NEF transmission at the addresses stated.
 4
            I declare under penalty of perjury under the laws of the United States of America,
 5   State of California that the foregoing is true and correct.
 6         Executed on     May 8, 2020    , at Riverside, California.
 7
                                                                /s/ Michelle Quiroz
 8
                                                                 Michelle Quiroz
 9

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                  JOINT STATUS REPORT RE ONGOING DISCUSSIONS BETWEEN COUNSEL
